Case 3:16-cv-02583-L-BLM Document 32-2 Filed 06/01/17 PageID.1630 Page 1 of 17




                       Table of Contents of Exhibits
 Exhibit 1: Declaration of Michael
 Dougherty………………….………………………………………….1
 Exhibit 2: Executive Order
 13768……………………….…………………………………………4
 Exhibit 3: Executive order
 13767………………………………………………………………….9
Case 3:16-cv-02583-L-BLM Document 32-2 Filed 06/01/17 PageID.1631 Page 2 of 17




                               EXHIBIT
                                      1
     Case 3:16-cv-02583-L-BLM Document 32-2 Filed 06/01/17 PageID.1632 Page 3 of 17




 I                      UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 2
      WHITEWATER DRAW NATURAL                        No. 3:16-cv-2583
 3    RESOURCE CONSERVATION
      DISTRICT, et al.,
 4                                                   DECLARATION OF
            Plaintiffs,
 5                                                   Michael T. Dougherty
                   v.
 6
      JOHN F. KELLY, et al.,
 7
                          Defendants.
 8
 9          I, Michael Dougherty, pursuant to 28 U.S.C § 1746, declare as follows:

10       l . I am the Assistant Secretary for Border, Immigration, and Trade Policy, Office
11
           of Policy, United States Department of Homeland Security (OHS or the
12
13         Department) and have served, beginning as the Acting Assistant Secretary, in

14         this position since March 20, 2017. In this role, I am responsible for policy
15
           development and policy coordination in all OHS mission areas related to
16
17         regional initiatives in the Americas, including border security and immigration.

18         I provide executive leadership, management, and direction to four work units,
19
            including Immigration Policy and the Office of Immigration Statistics. Due to
20
21         the nature of my official duties, I am familiar with the recent Executive Orders

22         on immigration policy issued by President Trump. This is the first declaration I
23
           have prepared for this Court.
24
25      2. As part of my official duties, I have become knowledgeable about two
26         Executive Orders issued by the President of the United States on January 25 ,
27
           2017, on the topic of immigration reform: (I) Executive Order No. 13768 titled
28
     Declaration ofMichael T. Dougherty _      -1-                                 EX. 1
                                                                                   1
     Case 3:16-cv-02583-L-BLM Document 32-2 Filed 06/01/17 PageID.1633 Page 4 of 17




           "Enhancing Public Safety in the Interior of the United States," which directs the
 1
 2         Secretary of Homeland Security to review various immigration actions and
 3
           policies undertaken by previous Presidential Administrations, and (2) Executive
 4
           Order No. 13767, titled "Border Security and Immigration Enforcement
 5
 6         Improvements," which, among other things, requires the Secretary to take
 7
           certain actions relating to his parole authority.
 8
        3. Executive Order No. 13768 (the Public Safety Executive Order) directs the
 9
10         Secretary to review all agency regulations, policies, and procedures to ensure
11
           consistency with Executive Order 13768 and where necessary to rescind, revise,
12
           withdraw or modify them. Section 15 of this Order directs the Secretary to
13
14         submit an interim report on the progress of his review within 90 days and a final
15
           report detailing the results of his review within 180 days of the Order's
16
17         issuance.

18      4. Executive Order No.13767 (The Border Security Order) directs the Secretary to
19
           ensure that appropriate actions take place relating to parole and asylum,
20
21         including among them, the Department' s parole authority being exercised only

22         on a case-by-case basis. The Order requires the Secretary to compile a report on
23
           his progress as to all of the provisions of the Order within 90 days. A report
24
25         from the Attorney General is due within 180 days.

26      5. Most of the actions challenged in this case are within the categories of actions
27
           subject to the reviews required by Executive Order 13767 or 13768. The
28
     Declaration of Michael T. Dougherty_ -2-                                          EX. 1
                                                                                       2
     Case 3:16-cv-02583-L-BLM Document 32-2 Filed 06/01/17 PageID.1634 Page 5 of 17




           reviews remain ongoing as to a significant number of regulations, policies and
 1
 2         procedures which may require rescission, revision, withdrawal or modification
 3
           or issuance of new policies guidance or procedures to achieve consistency in
 4
           the case of both Executive Orders. I do not presently know how many of the
 5
 6         actions challenged in this litigation will be rescinded, revised, withdrawn or
 7
           modified and will not know until the review is completed and the rescissions,
 8
           revisions, withdrawals or modifications begin.
 9
10      6. The Department of Homeland Security 90 day reports required under Executive
11
           Order Nos. 13767 and 13768 remain under review by the Office of the
12
           Secretary. The 180 day report under Executive Order 13768 is due to the
13
14         President on July 24, 2017.
15
     Pursuant to the provisions of 28 U.S.C. § 1746, I declare, under penalty of perjury, and
16
17 under the laws of the U.S. that the foregoing is true and correct.
18

19
           Executed on this   ~6Tf!iay of May, 2017.
20
21
22
23                                                Michael T. Dougherty
                                                  Assistant Secretary for Border,
24                                                Immigration and Trade Policy,
25                                                Office of Policy
                                                  U.S. Department of Homeland Security
26
27
28                                                                                      EX. 1
     Declaration ofMichael T. Dougherty _      -3-                                      3
Case 3:16-cv-02583-L-BLM Document 32-2 Filed 06/01/17 PageID.1635 Page 6 of 17




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                                      2
                                                   Case 3:16-cv-02583-L-BLM Document 32-2 Filed 06/01/17 PageID.1636 Page 7 of 17
                                                                Federal Register / Vol. 82, No. 18 / Monday, January 30, 2017 / Presidential Documents                         8799

                                                                                                 Presidential Documents



                                                                                                 Executive Order 13768 of January 25, 2017

                                                                                                 Enhancing Public Safety in the Interior of the United States

                                                                                                 By the authority vested in me as President by the Constitution and the
                                                                                                 laws of the United States of America, including the Immigration and Nation-
                                                                                                 ality Act (INA) (8 U.S.C. 1101 et seq.), and in order to ensure the public
                                                                                                 safety of the American people in communities across the United States
                                                                                                 as well as to ensure that our Nation’s immigration laws are faithfully exe-
                                                                                                 cuted, I hereby declare the policy of the executive branch to be, and order,
                                                                                                 as follows:
                                                                                                 Section 1. Purpose. Interior enforcement of our Nation’s immigration laws
                                                                                                 is critically important to the national security and public safety of the
                                                                                                 United States. Many aliens who illegally enter the United States and those
                                                                                                 who overstay or otherwise violate the terms of their visas present a significant
                                                                                                 threat to national security and public safety. This is particularly so for
                                                                                                 aliens who engage in criminal conduct in the United States.
                                                                                                 Sanctuary jurisdictions across the United States willfully violate Federal
                                                                                                 law in an attempt to shield aliens from removal from the United States.
                                                                                                 These jurisdictions have caused immeasurable harm to the American people
                                                                                                 and to the very fabric of our Republic.
                                                                                                 Tens of thousands of removable aliens have been released into communities
                                                                                                 across the country, solely because their home countries refuse to accept
                                                                                                 their repatriation. Many of these aliens are criminals who have served time
                                                                                                 in our Federal, State, and local jails. The presence of such individuals
                                                                                                 in the United States, and the practices of foreign nations that refuse the
                                                                                                 repatriation of their nationals, are contrary to the national interest.
                                                                                                 Although Federal immigration law provides a framework for Federal-State
                                                                                                 partnerships in enforcing our immigration laws to ensure the removal of
                                                                                                 aliens who have no right to be in the United States, the Federal Government
                                                                                                 has failed to discharge this basic sovereign responsibility. We cannot faith-
                                                                                                 fully execute the immigration laws of the United States if we exempt classes
                                                                                                 or categories of removable aliens from potential enforcement. The purpose
                                                                                                 of this order is to direct executive departments and agencies (agencies)
                                                                                                 to employ all lawful means to enforce the immigration laws of the United
                                                                                                 States.
                                                                                                 Sec. 2. Policy. It is the policy of the executive branch to:
                                                                                                    (a) Ensure the faithful execution of the immigration laws of the United
                                                                                                 States, including the INA, against all removable aliens, consistent with Article
                                                                                                 II, Section 3 of the United States Constitution and section 3331 of title
                                                                                                 5, United States Code;
                                                                                                   (b) Make use of all available systems and resources to ensure the efficient
                                                                                                 and faithful execution of the immigration laws of the United States;
                                                                                                   (c) Ensure that jurisdictions that fail to comply with applicable Federal
                                                                                                 law do not receive Federal funds, except as mandated by law;
                                                                                                   (d) Ensure that aliens ordered removed from the United States are promptly
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                                                                                                 removed; and
                                                                                                   (e) Support victims, and the families of victims, of crimes committed
                                                                                                 by removable aliens.
                                                                                                 Sec. 3. Definitions. The terms of this order, where applicable, shall have
                                                                                                 the meaning provided by section 1101 of title 8, United States Code.
                                                                                                                                                                             EX. 2
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                                                   Case 3:16-cv-02583-L-BLM Document 32-2 Filed 06/01/17 PageID.1637 Page 8 of 17
                                             8800               Federal Register / Vol. 82, No. 18 / Monday, January 30, 2017 / Presidential Documents

                                                                                                 Sec. 4. Enforcement of the Immigration Laws in the Interior of the United
                                                                                                 States. In furtherance of the policy described in section 2 of this order,
                                                                                                 I hereby direct agencies to employ all lawful means to ensure the faithful
                                                                                                 execution of the immigration laws of the United States against all removable
                                                                                                 aliens.
                                                                                                 Sec. 5. Enforcement Priorities. In executing faithfully the immigration laws
                                                                                                 of the United States, the Secretary of Homeland Security (Secretary) shall
                                                                                                 prioritize for removal those aliens described by the Congress in sections
                                                                                                 212(a)(2), (a)(3), and (a)(6)(C), 235, and 237(a)(2) and (4) of the INA (8
                                                                                                 U.S.C. 1182(a)(2), (a)(3), and (a)(6)(C), 1225, and 1227(a)(2) and (4)), as
                                                                                                 well as removable aliens who:
                                                                                                   (a) Have been convicted of any criminal offense;
                                                                                                   (b) Have been charged with any criminal offense, where such charge
                                                                                                 has not been resolved;
                                                                                                    (c) Have committed acts that constitute a chargeable criminal offense;
                                                                                                   (d) Have engaged in fraud or willful misrepresentation in connection
                                                                                                 with any official matter or application before a governmental agency;
                                                                                                    (e) Have abused any program related to receipt of public benefits;
                                                                                                   (f) Are subject to a final order of removal, but who have not complied
                                                                                                 with their legal obligation to depart the United States; or
                                                                                                   (g) In the judgment of an immigration officer, otherwise pose a risk to
                                                                                                 public safety or national security.
                                                                                                 Sec. 6. Civil Fines and Penalties. As soon as practicable, and by no later
                                                                                                 than one year after the date of this order, the Secretary shall issue guidance
                                                                                                 and promulgate regulations, where required by law, to ensure the assessment
                                                                                                 and collection of all fines and penalties that the Secretary is authorized
                                                                                                 under the law to assess and collect from aliens unlawfully present in the
                                                                                                 United States and from those who facilitate their presence in the United
                                                                                                 States.
                                                                                                 Sec. 7. Additional Enforcement and Removal Officers. The Secretary, through
                                                                                                 the Director of U.S. Immigration and Customs Enforcement, shall, to the
                                                                                                 extent permitted by law and subject to the availability of appropriations,
                                                                                                 take all appropriate action to hire 10,000 additional immigration officers,
                                                                                                 who shall complete relevant training and be authorized to perform the
                                                                                                 law enforcement functions described in section 287 of the INA (8 U.S.C.
                                                                                                 1357).
                                                                                                 Sec. 8. Federal-State Agreements. It is the policy of the executive branch
                                                                                                 to empower State and local law enforcement agencies across the country
                                                                                                 to perform the functions of an immigration officer in the interior of the
                                                                                                 United States to the maximum extent permitted by law.
                                                                                                   (a) In furtherance of this policy, the Secretary shall immediately take
                                                                                                 appropriate action to engage with the Governors of the States, as well as
                                                                                                 local officials, for the purpose of preparing to enter into agreements under
                                                                                                 section 287(g) of the INA (8 U.S.C. 1357(g)).
                                                                                                   (b) To the extent permitted by law and with the consent of State or
                                                                                                 local officials, as appropriate, the Secretary shall take appropriate action,
                                                                                                 through agreements under section 287(g) of the INA, or otherwise, to author-
                                                                                                 ize State and local law enforcement officials, as the Secretary determines
                                                                                                 are qualified and appropriate, to perform the functions of immigration officers
                                                                                                 in relation to the investigation, apprehension, or detention of aliens in
                                                                                                 the United States under the direction and the supervision of the Secretary.
                                                                                                 Such authorization shall be in addition to, rather than in place of, Federal
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                                                                                                 performance of these duties.
                                                                                                    (c) To the extent permitted by law, the Secretary may structure each
                                                                                                 agreement under section 287(g) of the INA in a manner that provides the
                                                                                                 most effective model for enforcing Federal immigration laws for that jurisdic-
                                                                                                 tion.
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                                                   Case 3:16-cv-02583-L-BLM Document 32-2 Filed 06/01/17 PageID.1638 Page 9 of 17
                                                                Federal Register / Vol. 82, No. 18 / Monday, January 30, 2017 / Presidential Documents                       8801

                                                                                                 Sec. 9. Sanctuary Jurisdictions. It is the policy of the executive branch
                                                                                                 to ensure, to the fullest extent of the law, that a State, or a political subdivi-
                                                                                                 sion of a State, shall comply with 8 U.S.C. 1373.
                                                                                                    (a) In furtherance of this policy, the Attorney General and the Secretary,
                                                                                                 in their discretion and to the extent consistent with law, shall ensure that
                                                                                                 jurisdictions that willfully refuse to comply with 8 U.S.C. 1373 (sanctuary
                                                                                                 jurisdictions) are not eligible to receive Federal grants, except as deemed
                                                                                                 necessary for law enforcement purposes by the Attorney General or the
                                                                                                 Secretary. The Secretary has the authority to designate, in his discretion
                                                                                                 and to the extent consistent with law, a jurisdiction as a sanctuary jurisdic-
                                                                                                 tion. The Attorney General shall take appropriate enforcement action against
                                                                                                 any entity that violates 8 U.S.C. 1373, or which has in effect a statute,
                                                                                                 policy, or practice that prevents or hinders the enforcement of Federal
                                                                                                 law.
                                                                                                   (b) To better inform the public regarding the public safety threats associated
                                                                                                 with sanctuary jurisdictions, the Secretary shall utilize the Declined Detainer
                                                                                                 Outcome Report or its equivalent and, on a weekly basis, make public
                                                                                                 a comprehensive list of criminal actions committed by aliens and any juris-
                                                                                                 diction that ignored or otherwise failed to honor any detainers with respect
                                                                                                 to such aliens.
                                                                                                    (c) The Director of the Office of Management and Budget is directed
                                                                                                 to obtain and provide relevant and responsive information on all Federal
                                                                                                 grant money that currently is received by any sanctuary jurisdiction.
                                                                                                 Sec. 10. Review of Previous Immigration Actions and Policies. (a) The Sec-
                                                                                                 retary shall immediately take all appropriate action to terminate the Priority
                                                                                                 Enforcement Program (PEP) described in the memorandum issued by the
                                                                                                 Secretary on November 20, 2014, and to reinstitute the immigration program
                                                                                                 known as ‘‘Secure Communities’’ referenced in that memorandum.
                                                                                                    (b) The Secretary shall review agency regulations, policies, and procedures
                                                                                                 for consistency with this order and, if required, publish for notice and
                                                                                                 comment proposed regulations rescinding or revising any regulations incon-
                                                                                                 sistent with this order and shall consider whether to withdraw or modify
                                                                                                 any inconsistent policies and procedures, as appropriate and consistent with
                                                                                                 the law.
                                                                                                   (c) To protect our communities and better facilitate the identification,
                                                                                                 detention, and removal of criminal aliens within constitutional and statutory
                                                                                                 parameters, the Secretary shall consolidate and revise any applicable forms
                                                                                                 to more effectively communicate with recipient law enforcement agencies.
                                                                                                 Sec. 11. Department of Justice Prosecutions of Immigration Violators. The
                                                                                                 Attorney General and the Secretary shall work together to develop and
                                                                                                 implement a program that ensures that adequate resources are devoted to
                                                                                                 the prosecution of criminal immigration offenses in the United States, and
                                                                                                 to develop cooperative strategies to reduce violent crime and the reach
                                                                                                 of transnational criminal organizations into the United States.
                                                                                                 Sec. 12. Recalcitrant Countries. The Secretary of Homeland Security and
                                                                                                 the Secretary of State shall cooperate to effectively implement the sanctions
                                                                                                 provided by section 243(d) of the INA (8 U.S.C. 1253(d)), as appropriate.
                                                                                                 The Secretary of State shall, to the maximum extent permitted by law,
                                                                                                 ensure that diplomatic efforts and negotiations with foreign states include
                                                                                                 as a condition precedent the acceptance by those foreign states of their
                                                                                                 nationals who are subject to removal from the United States.
                                                                                                 Sec. 13. Office for Victims of Crimes Committed by Removable Aliens. The
                                                                                                 Secretary shall direct the Director of U.S. Immigration and Customs Enforce-
                                                                                                 ment to take all appropriate and lawful action to establish within U.S.
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                                                                                                 Immigration and Customs Enforcement an office to provide proactive, timely,
                                                                                                 adequate, and professional services to victims of crimes committed by remov-
                                                                                                 able aliens and the family members of such victims. This office shall provide
                                                                                                 quarterly reports studying the effects of the victimization by criminal aliens
                                                                                                 present in the United States.

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                                                  Case 3:16-cv-02583-L-BLM Document 32-2 Filed 06/01/17 PageID.1639 Page 10 of 17
                                             8802               Federal Register / Vol. 82, No. 18 / Monday, January 30, 2017 / Presidential Documents

                                                                                                 Sec. 14. Privacy Act. Agencies shall, to the extent consistent with applicable
                                                                                                 law, ensure that their privacy policies exclude persons who are not United
                                                                                                 States citizens or lawful permanent residents from the protections of the
                                                                                                 Privacy Act regarding personally identifiable information.
                                                                                                 Sec. 15. Reporting. Except as otherwise provided in this order, the Secretary
                                                                                                 and the Attorney General shall each submit to the President a report on
                                                                                                 the progress of the directives contained in this order within 90 days of
                                                                                                 the date of this order and again within 180 days of the date of this order.
                                                                                                 Sec. 16. Transparency. To promote the transparency and situational aware-
                                                                                                 ness of criminal aliens in the United States, the Secretary and the Attorney
                                                                                                 General are hereby directed to collect relevant data and provide quarterly
                                                                                                 reports on the following:
                                                                                                   (a) the immigration status of all aliens incarcerated under the supervision
                                                                                                 of the Federal Bureau of Prisons;
                                                                                                   (b) the immigration status of all aliens incarcerated as Federal pretrial
                                                                                                 detainees under the supervision of the United States Marshals Service; and
                                                                                                   (c) the immigration status of all convicted aliens incarcerated in State
                                                                                                 prisons and local detention centers throughout the United States.
                                                                                                 Sec. 17. Personnel Actions. The Office of Personnel Management shall take
                                                                                                 appropriate and lawful action to facilitate hiring personnel to implement
                                                                                                 this order.
                                                                                                 Sec. 18. General Provisions. (a) Nothing in this order shall be construed
                                                                                                 to impair or otherwise affect:
                                                                                                   (i) the authority granted by law to an executive department or agency,
                                                                                                   or the head thereof; or
                                                                                                   (ii) the functions of the Director of the Office of Management and Budget
                                                                                                   relating to budgetary, administrative, or legislative proposals.
                                                                                                   (b) This order shall be implemented consistent with applicable law and
                                                                                                 subject to the availability of appropriations.
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                                                  Case 3:16-cv-02583-L-BLM Document 32-2 Filed 06/01/17 PageID.1640 Page 11 of 17
                                                                Federal Register / Vol. 82, No. 18 / Monday, January 30, 2017 / Presidential Documents                       8803

                                                                                                   (c) This order is not intended to, and does not, create any right or benefit,
                                                                                                 substantive or procedural, enforceable at law or in equity by any party
                                                                                                 against the United States, its departments, agencies, or entities, its officers,
                                                                                                 employees, or agents, or any other person.




                                                                                                 THE WHITE HOUSE,
                                                                                                 January 25, 2017.


                                             [FR Doc. 2017–02102
                                             Filed 1–27–17; 11:15 am]
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Case 3:16-cv-02583-L-BLM Document 32-2 Filed 06/01/17 PageID.1641 Page 12 of 17




                               EXHIBIT
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                                                  Case 3:16-cv-02583-L-BLM Document 32-2 Filed 06/01/17 PageID.1642 Page 13 of 17
                                                                Federal Register / Vol. 82, No. 18 / Monday, January 30, 2017 / Presidential Documents                          8793

                                                                                                 Presidential Documents



                                                                                                 Executive Order 13767 of January 25, 2017

                                                                                                 Border Security and Immigration Enforcement Improvements

                                                                                                 By the authority vested in me as President by the Constitution and the
                                                                                                 laws of the United States of America, including the Immigration and Nation-
                                                                                                 ality Act (8 U.S.C. 1101 et seq.) (INA), the Secure Fence Act of 2006
                                                                                                 (Public Law 109–367) (Secure Fence Act), and the Illegal Immigration Reform
                                                                                                 and Immigrant Responsibility Act of 1996 (Public Law 104–208 Div. C)
                                                                                                 (IIRIRA), and in order to ensure the safety and territorial integrity of the
                                                                                                 United States as well as to ensure that the Nation’s immigration laws are
                                                                                                 faithfully executed, I hereby order as follows:
                                                                                                 Section 1. Purpose. Border security is critically important to the national
                                                                                                 security of the United States. Aliens who illegally enter the United States
                                                                                                 without inspection or admission present a significant threat to national
                                                                                                 security and public safety. Such aliens have not been identified or inspected
                                                                                                 by Federal immigration officers to determine their admissibility to the United
                                                                                                 States. The recent surge of illegal immigration at the southern border with
                                                                                                 Mexico has placed a significant strain on Federal resources and overwhelmed
                                                                                                 agencies charged with border security and immigration enforcement, as well
                                                                                                 as the local communities into which many of the aliens are placed.
                                                                                                 Transnational criminal organizations operate sophisticated drug- and human-
                                                                                                 trafficking networks and smuggling operations on both sides of the southern
                                                                                                 border, contributing to a significant increase in violent crime and United
                                                                                                 States deaths from dangerous drugs. Among those who illegally enter are
                                                                                                 those who seek to harm Americans through acts of terror or criminal conduct.
                                                                                                 Continued illegal immigration presents a clear and present danger to the
                                                                                                 interests of the United States.
                                                                                                 Federal immigration law both imposes the responsibility and provides the
                                                                                                 means for the Federal Government, in cooperation with border States, to
                                                                                                 secure the Nation’s southern border. Although Federal immigration law pro-
                                                                                                 vides a robust framework for Federal-State partnership in enforcing our
                                                                                                 immigration laws—and the Congress has authorized and provided appropria-
                                                                                                 tions to secure our borders—the Federal Government has failed to discharge
                                                                                                 this basic sovereign responsibility. The purpose of this order is to direct
                                                                                                 executive departments and agencies (agencies) to deploy all lawful means
                                                                                                 to secure the Nation’s southern border, to prevent further illegal immigration
                                                                                                 into the United States, and to repatriate illegal aliens swiftly, consistently,
                                                                                                 and humanely.
                                                                                                 Sec. 2. Policy. It is the policy of the executive branch to:
                                                                                                   (a) secure the southern border of the United States through the immediate
                                                                                                 construction of a physical wall on the southern border, monitored and
                                                                                                 supported by adequate personnel so as to prevent illegal immigration, drug
                                                                                                 and human trafficking, and acts of terrorism;
                                                                                                   (b) detain individuals apprehended on suspicion of violating Federal or
                                                                                                 State law, including Federal immigration law, pending further proceedings
                                                                                                 regarding those violations;
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                                                                                                   (c) expedite determinations of apprehended individuals’ claims of eligi-
                                                                                                 bility to remain in the United States;
                                                                                                   (d) remove promptly those individuals whose legal claims to remain in
                                                                                                 the United States have been lawfully rejected, after any appropriate civil
                                                                                                 or criminal sanctions have been imposed; and
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                                                  Case 3:16-cv-02583-L-BLM Document 32-2 Filed 06/01/17 PageID.1643 Page 14 of 17
                                             8794               Federal Register / Vol. 82, No. 18 / Monday, January 30, 2017 / Presidential Documents

                                                                                                   (e) cooperate fully with States and local law enforcement in enacting
                                                                                                 Federal-State partnerships to enforce Federal immigration priorities, as well
                                                                                                 as State monitoring and detention programs that are consistent with Federal
                                                                                                 law and do not undermine Federal immigration priorities.
                                                                                                 Sec. 3. Definitions. (a) ‘‘Asylum officer’’ has the meaning given the term
                                                                                                 in section 235(b)(1)(E) of the INA (8 U.S.C. 1225(b)(1)).
                                                                                                   (b) ‘‘Southern border’’ shall mean the contiguous land border between
                                                                                                 the United States and Mexico, including all points of entry.
                                                                                                   (c) ‘‘Border States’’ shall mean the States of the United States immediately
                                                                                                 adjacent to the contiguous land border between the United States and Mexico.
                                                                                                   (d) Except as otherwise noted, ‘‘the Secretary’’ shall refer to the Secretary
                                                                                                 of Homeland Security.
                                                                                                   (e) ‘‘Wall’’ shall mean a contiguous, physical wall or other similarly secure,
                                                                                                 contiguous, and impassable physical barrier.
                                                                                                   (f) ‘‘Executive department’’ shall have the meaning given in section 101
                                                                                                 of title 5, United States Code.
                                                                                                   (g) ‘‘Regulations’’ shall mean any and all Federal rules, regulations, and
                                                                                                 directives lawfully promulgated by agencies.
                                                                                                    (h) ‘‘Operational control’’ shall mean the prevention of all unlawful entries
                                                                                                 into the United States, including entries by terrorists, other unlawful aliens,
                                                                                                 instruments of terrorism, narcotics, and other contraband.
                                                                                                 Sec. 4. Physical Security of the Southern Border of the United States. The
                                                                                                 Secretary shall immediately take the following steps to obtain complete
                                                                                                 operational control, as determined by the Secretary, of the southern border:
                                                                                                    (a) In accordance with existing law, including the Secure Fence Act and
                                                                                                 IIRIRA, take all appropriate steps to immediately plan, design, and construct
                                                                                                 a physical wall along the southern border, using appropriate materials and
                                                                                                 technology to most effectively achieve complete operational control of the
                                                                                                 southern border;
                                                                                                   (b) Identify and, to the extent permitted by law, allocate all sources of
                                                                                                 Federal funds for the planning, designing, and constructing of a physical
                                                                                                 wall along the southern border;
                                                                                                    (c) Project and develop long-term funding requirements for the wall, includ-
                                                                                                 ing preparing Congressional budget requests for the current and upcoming
                                                                                                 fiscal years; and
                                                                                                    (d) Produce a comprehensive study of the security of the southern border,
                                                                                                 to be completed within 180 days of this order, that shall include the current
                                                                                                 state of southern border security, all geophysical and topographical aspects
                                                                                                 of the southern border, the availability of Federal and State resources nec-
                                                                                                 essary to achieve complete operational control of the southern border, and
                                                                                                 a strategy to obtain and maintain complete operational control of the southern
                                                                                                 border.
                                                                                                 Sec. 5. Detention Facilities. (a) The Secretary shall take all appropriate
                                                                                                 action and allocate all legally available resources to immediately construct,
                                                                                                 operate, control, or establish contracts to construct, operate, or control facili-
                                                                                                 ties to detain aliens at or near the land border with Mexico.
                                                                                                    (b) The Secretary shall take all appropriate action and allocate all legally
                                                                                                 available resources to immediately assign asylum officers to immigration
                                                                                                 detention facilities for the purpose of accepting asylum referrals and con-
                                                                                                 ducting credible fear determinations pursuant to section 235(b)(1) of the
                                                                                                 INA (8 U.S.C. 1225(b)(1)) and applicable regulations and reasonable fear
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                                                                                                 determinations pursuant to applicable regulations.
                                                                                                    (c) The Attorney General shall take all appropriate action and allocate
                                                                                                 all legally available resources to immediately assign immigration judges
                                                                                                 to immigration detention facilities operated or controlled by the Secretary,
                                                                                                 or operated or controlled pursuant to contract by the Secretary, for the

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                                                                Federal Register / Vol. 82, No. 18 / Monday, January 30, 2017 / Presidential Documents                        8795

                                                                                                 purpose of conducting proceedings authorized under title 8, chapter 12,
                                                                                                 subchapter II, United States Code.
                                                                                                 Sec. 6. Detention for Illegal Entry. The Secretary shall immediately take
                                                                                                 all appropriate actions to ensure the detention of aliens apprehended for
                                                                                                 violations of immigration law pending the outcome of their removal pro-
                                                                                                 ceedings or their removal from the country to the extent permitted by
                                                                                                 law. The Secretary shall issue new policy guidance to all Department of
                                                                                                 Homeland Security personnel regarding the appropriate and consistent use
                                                                                                 of lawful detention authority under the INA, including the termination of
                                                                                                 the practice commonly known as ‘‘catch and release,’’ whereby aliens are
                                                                                                 routinely released in the United States shortly after their apprehension for
                                                                                                 violations of immigration law.
                                                                                                 Sec. 7. Return to Territory. The Secretary shall take appropriate action,
                                                                                                 consistent with the requirements of section 1232 of title 8, United States
                                                                                                 Code, to ensure that aliens described in section 235(b)(2)(C) of the INA
                                                                                                 (8 U.S.C. 1225(b)(2)(C)) are returned to the territory from which they came
                                                                                                 pending a formal removal proceeding.
                                                                                                 Sec. 8. Additional Border Patrol Agents. Subject to available appropriations,
                                                                                                 the Secretary, through the Commissioner of U.S. Customs and Border Protec-
                                                                                                 tion, shall take all appropriate action to hire 5,000 additional Border Patrol
                                                                                                 agents, and all appropriate action to ensure that such agents enter on duty
                                                                                                 and are assigned to duty stations as soon as is practicable.
                                                                                                 Sec. 9. Foreign Aid Reporting Requirements. The head of each executive
                                                                                                 department and agency shall identify and quantify all sources of direct
                                                                                                 and indirect Federal aid or assistance to the Government of Mexico on
                                                                                                 an annual basis over the past five years, including all bilateral and multilat-
                                                                                                 eral development aid, economic assistance, humanitarian aid, and military
                                                                                                 aid. Within 30 days of the date of this order, the head of each executive
                                                                                                 department and agency shall submit this information to the Secretary of
                                                                                                 State. Within 60 days of the date of this order, the Secretary shall submit
                                                                                                 to the President a consolidated report reflecting the levels of such aid
                                                                                                 and assistance that has been provided annually, over each of the past five
                                                                                                 years.
                                                                                                 Sec. 10. Federal-State Agreements. It is the policy of the executive branch
                                                                                                 to empower State and local law enforcement agencies across the country
                                                                                                 to perform the functions of an immigration officer in the interior of the
                                                                                                 United States to the maximum extent permitted by law.
                                                                                                   (a) In furtherance of this policy, the Secretary shall immediately take
                                                                                                 appropriate action to engage with the Governors of the States, as well as
                                                                                                 local officials, for the purpose of preparing to enter into agreements under
                                                                                                 section 287(g) of the INA (8 U.S.C. 1357(g)).
                                                                                                   (b) To the extent permitted by law, and with the consent of State or
                                                                                                 local officials, as appropriate, the Secretary shall take appropriate action,
                                                                                                 through agreements under section 287(g) of the INA, or otherwise, to author-
                                                                                                 ize State and local law enforcement officials, as the Secretary determines
                                                                                                 are qualified and appropriate, to perform the functions of immigration officers
                                                                                                 in relation to the investigation, apprehension, or detention of aliens in
                                                                                                 the United States under the direction and the supervision of the Secretary.
                                                                                                 Such authorization shall be in addition to, rather than in place of, Federal
                                                                                                 performance of these duties.
                                                                                                   (c) To the extent permitted by law, the Secretary may structure each
                                                                                                 agreement under section 287(g) of the INA in the manner that provides
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                                                                                                 the most effective model for enforcing Federal immigration laws and obtain-
                                                                                                 ing operational control over the border for that jurisdiction.
                                                                                                 Sec. 11. Parole, Asylum, and Removal. It is the policy of the executive
                                                                                                 branch to end the abuse of parole and asylum provisions currently used
                                                                                                 to prevent the lawful removal of removable aliens.
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                                             8796               Federal Register / Vol. 82, No. 18 / Monday, January 30, 2017 / Presidential Documents

                                                                                                    (a) The Secretary shall immediately take all appropriate action to ensure
                                                                                                 that the parole and asylum provisions of Federal immigration law are not
                                                                                                 illegally exploited to prevent the removal of otherwise removable aliens.
                                                                                                   (b) The Secretary shall take all appropriate action, including by promul-
                                                                                                 gating any appropriate regulations, to ensure that asylum referrals and cred-
                                                                                                 ible fear determinations pursuant to section 235(b)(1) of the INA (8 U.S.C.
                                                                                                 1125(b)(1)) and 8 CFR 208.30, and reasonable fear determinations pursuant
                                                                                                 to 8 CFR 208.31, are conducted in a manner consistent with the plain
                                                                                                 language of those provisions.
                                                                                                   (c) Pursuant to section 235(b)(1)(A)(iii)(I) of the INA, the Secretary shall
                                                                                                 take appropriate action to apply, in his sole and unreviewable discretion,
                                                                                                 the provisions of section 235(b)(1)(A)(i) and (ii) of the INA to the aliens
                                                                                                 designated under section 235(b)(1)(A)(iii)(II).
                                                                                                    (d) The Secretary shall take appropriate action to ensure that parole author-
                                                                                                 ity under section 212(d)(5) of the INA (8 U.S.C. 1182(d)(5)) is exercised
                                                                                                 only on a case-by-case basis in accordance with the plain language of the
                                                                                                 statute, and in all circumstances only when an individual demonstrates
                                                                                                 urgent humanitarian reasons or a significant public benefit derived from
                                                                                                 such parole.
                                                                                                    (e) The Secretary shall take appropriate action to require that all Depart-
                                                                                                 ment of Homeland Security personnel are properly trained on the proper
                                                                                                 application of section 235 of the William Wilberforce Trafficking Victims
                                                                                                 Protection Reauthorization Act of 2008 (8 U.S.C. 1232) and section 462(g)(2)
                                                                                                 of the Homeland Security Act of 2002 (6 U.S.C. 279(g)(2)), to ensure that
                                                                                                 unaccompanied alien children are properly processed, receive appropriate
                                                                                                 care and placement while in the custody of the Department of Homeland
                                                                                                 Security, and, when appropriate, are safely repatriated in accordance with
                                                                                                 law.
                                                                                                 Sec. 12. Authorization to Enter Federal Lands. The Secretary, in conjunction
                                                                                                 with the Secretary of the Interior and any other heads of agencies as nec-
                                                                                                 essary, shall take all appropriate action to:
                                                                                                    (a) permit all officers and employees of the United States, as well as
                                                                                                 all State and local officers as authorized by the Secretary, to have access
                                                                                                 to all Federal lands as necessary and appropriate to implement this order;
                                                                                                 and
                                                                                                   (b) enable those officers and employees of the United States, as well
                                                                                                 as all State and local officers as authorized by the Secretary, to perform
                                                                                                 such actions on Federal lands as the Secretary deems necessary and appro-
                                                                                                 priate to implement this order.
                                                                                                 Sec. 13. Priority Enforcement. The Attorney General shall take all appropriate
                                                                                                 steps to establish prosecution guidelines and allocate appropriate resources
                                                                                                 to ensure that Federal prosecutors accord a high priority to prosecutions
                                                                                                 of offenses having a nexus to the southern border.
                                                                                                 Sec. 14. Government Transparency. The Secretary shall, on a monthly basis
                                                                                                 and in a publicly available way, report statistical data on aliens apprehended
                                                                                                 at or near the southern border using a uniform method of reporting by
                                                                                                 all Department of Homeland Security components, in a format that is easily
                                                                                                 understandable by the public.
                                                                                                 Sec. 15. Reporting. Except as otherwise provided in this order, the Secretary,
                                                                                                 within 90 days of the date of this order, and the Attorney General, within
                                                                                                 180 days, shall each submit to the President a report on the progress of
                                                                                                 the directives contained in this order.
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                                                                                                 Sec. 16. Hiring. The Office of Personnel Management shall take appropriate
                                                                                                 action as may be necessary to facilitate hiring personnel to implement this
                                                                                                 order.
                                                                                                 Sec. 17. General Provisions. (a) Nothing in this order shall be construed
                                                                                                 to impair or otherwise affect:
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                                                  Case 3:16-cv-02583-L-BLM Document 32-2 Filed 06/01/17 PageID.1646 Page 17 of 17
                                                                Federal Register / Vol. 82, No. 18 / Monday, January 30, 2017 / Presidential Documents                       8797

                                                                                                    (i) the authority granted by law to an executive department or agency,
                                                                                                    or the head thereof; or
                                                                                                   (ii) the functions of the Director of the Office of Management and Budget
                                                                                                   relating to budgetary, administrative, or legislative proposals.
                                                                                                   (b) This order shall be implemented consistent with applicable law and
                                                                                                 subject to the availability of appropriations.
                                                                                                   (c) This order is not intended to, and does not, create any right or benefit,
                                                                                                 substantive or procedural, enforceable at law or in equity by any party
                                                                                                 against the United States, its departments, agencies, or entities, its officers,
                                                                                                 employees, or agents, or any other person.




                                                                                                 THE WHITE HOUSE,
                                                                                                 January 25, 2017.


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